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                                    CONFIDENTIAL
                                    CONFIDENTIAL


             UNIVERSITY-WIDE           ON SEXUAL
             UNIVERSITY-WIDE COMMITTEE ON SEXUAL MISCONDUCT
                                                 MISCONDUCT


                    FACT
                    FACT FINDER'S
                         FINDER'S REPORT
                                   REPORT IN THE COMPLAINT
                                          IN THE COMPLAINT
                  BROUGHT BYBY JASON
                               JASON KILLHEFFER ON BEHALF OF
                   Jane Roe          AGAINST JACK MONTAGUE
                                     AGAINSTJACK

                                    January 4, 2016


Introduction and Background

This
This complaint was brought by Senior Deputy Title IX    Coordinator Jason Killheffer
                                                     IXCoordinator
against Jack Montague (TRrumbull
                       fTRrumbuR '16),
                                    '16L -a-Yale
                                         a Yale college senior. The complaint
concerns a single episode of sexual intercourse between Mr. Montague and
Jane Roe
     Roe
          states she consented to other sexual activity but did not consent to
                          Mr. Montague, Ms. Jane Roe d-i4
intercourse. According to Mr.                           di4 voluntarily consented
throughout the encounter.

The current formal complaint was
                               was filed November 18, 2015
                                                       2015 (Exhibit
                                                             [Exhibit A). Mr.
                                                                      A). Mr.
Montague was charged on November 30 (Exhibit B) and responded on December 9,
2015 (Exhibit C).
               C). The case was assigned to me for investigation on November 23,
2015. UWC Chair David Post granted an extension to the usual 21-day time limit for
investigation due
              due to the Yale College Thanksgiving and winter breaks, when the
parties and witnesses were unavailable for interviews, and
                                                        and due to Mr.
                                                                   Mr. Montague's
additional absence from campus for games with the varsity basketball team.
                                                                        team.

In conducting this investigation, II interviewed Jane Roe      on November 30,
December 2 and December 17, 20152015 in the presence of             , Sexual Assault
Counselor at the SHARE Center. II interviewed Mr. Montague on December 16, 2015
and December 29, 2015, in the presence of his adviser,
                                                 adviser. Coach James Jones.
                                                                      Jones.

II conducted additional interviews with the the following witnesses:
Angela Gleason, Title IXIX Coordinator
                           friend of Jane Roe
                    , friend of Jane Roe
                             , friend of Jane Roe
                     , friend of Jane Roe
                                Jane Roe
                        , friend of Mr. Montague

II also reviewed the following documents:
Summary of events on October 18-19,    2014, written on October 22,
                                 18-19,2014,                    22,2014
                                                                    2014 by Ms.
                                                                            Ms.
Jane Roe (Exhibit D)
Text messages between Jane Roe         and Mr. Montague (Exhibit E)
Text messages between Jane Roe         and            (Exhibit F)


                                                                                       1


                                                                                                 PLAINTIFF'S
                                                                                                 EXHIBIT NO.
                                                                                                 EXHIBIT NO. ' ^
                                                                                                 FOR IDENTIFICATION
                                                                                                     IDENTIRCATION
                                                                                           ...

                                                                                            SOATE:
                                                                                               DATE:
                                                                                                          /'1RPTR:
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                                                                                                                   laify
                                                                                            a.
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  Text message from Jane Roe
  Textmessage                        to                                    (Exhibit G)
       security card
I Yale security card activity record for Jane Roe
                     activityrecord                  , October 19,
                                                               19,7 2014 (Exhibit H)


 Undisputed Facts

 The following                   dispute: Mr. Montague and Jane Roe
      following facts are not in dispute:                                   met at a
 party in early
           early September 2014. At that time they
                                                 they engaged in consensual sexual
 activity, not including intercourse. They communicated with each other after that
 via Facebook and text message. On  On September 24, Mr.Mr. Montague and Jane Roe
 encountered each other again at an event at Toad's Place. They left together and and
 went to Mr. Montague's house at 43 Howe Street where they had sexual intercourse
 for the first time.'  On October 18, Jane Roe
               time. ^ On                            went to another party at Mr.
                                                                              Mr.
 Montague's house. She and Mr. Montague engaged in consensual sexual contact not
 including intercourse outside the house and in Mr. Mr. Montague's car. They then went
 inside to Mr.
            Mr. Montague's bedroom, where theythey continued sexual contact, including
                                                                              including
 intercourse. Jane Roe        stayed the
                                      the night with Mr. Montague and went home in
 the
 the morning. A  A few days later Jane Roe      contacted Mr.
                                                            Mr. Montague and asked to
 meet for a discussion. The parties met on October 28,     2014. At that time Ms.
                                                       28,2014.                Ms.
 Jane Roe told Mr. Montague that she had  had not wanted to have intercourse on
 October 18 and she felt very
                           very uncomfortable and upset about what had happened.
 He stated that he was sorry she felt that way and agreed to stay
                                                                stay away
                                                                     away from her in
 the future. [The          have not communicated with
              The parties have                      with each
                                                         each other since
                                                                     sincethat
                                                                          that time.        Comment [DMP1]:
                                                                                                        IDMPl]: This
                                                                                                                This appears to
                                                                                                                             co be
                                                                                                                                be in
                                                                                                                                   in
                                                                                            dispute below.
                                                                                                    below.

                                                                                               believe he
                                                                                            II believe he agreed
                                                                                                          agreed to stay
                                                                                                                     stay away
                                                                                                                          away from her
                                                                                                                                    her but did
                                                                                            not agree toto leave places where she might be.
                                                                                                                                         be.
 Complainant's Version of Events

 According to Jane Roe       , she first met Mr. Montague at a party early in September
 2014. He was a member of the basketball team and she was a member of the
                       They had some mutual friends and attended some of the same
 parties. He lived in an off-campus house at 43 Howe Street with other members of
 the basketball team. Mr. Montague's house often hosted parties, including the the one
 where Jane Roe n met Mr. Montague. The house was known as "the basketball
 house."
 house."


 The night the parties first met, they talked and flirted and then began kissing. Mr.
                       first met,
 Montague invited Jane Roe         to his room, where they continued kissing and
 sexual touching but did not have sexual intercourse. Jane Roe          stayed the night,
                                                                                   night
 slept with Mr. Montague and went home to                        in the morning. All
                                                                                  All
 sexual contact that night was consensual. Jane Roe         enjoyed Mr. Montague's
 company and felt comfortable with him. Jane Roe           and Mr. Montague traded

 1I Both parties agree that Jane Roe      consented verbally to this activity, however
 she states that she was highly
                          highly intoxicated at the time and did not want to have
 sexual intercourse but went along because she was not thinking clearly. Mr.
 Montague is not charged with any wrongdoing in connection with the incident on
 September 24.
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phone numbers and friended each other on Facebook. After their first encounter
they had friendly
         friendlycommunication
                  communication over text and Facebook.
                                              Facebook . According to
Jane Roe she met Mr.
                   Mr.Montague
                      Montague a second time a week or two after
                                                            after the first
meeting. This encounter was similar to the first.
                                            first The parties went to Mr.
Montague's room and
                  and had consensual sexual contact, not including intercourse.
Again, Jane Roe
Again,,              slept over at Mr. Montague's house. She felt comfortable and
                                                                               and
enjoyed the encounter. She reported that on both of these
                                                     these occasions, Mr.
                                                                       Mr. Montague
asked
asked if she wanted to "have sex" (meaning intercourse) and
                                                         and she said
                                                                  said "no." He
respected her decision and did not push her.
                                         her.

Jane Roe      reported a third sexual encounter with Mr.
                                                      Mr. Montague on September
24,                    was hosting a charity event at Toad's Place. Jane Roe
    2014. Her sorority was
24,2014.
drank a lot more alcohol
                 alcohol at this event than she usually drinks and
                                                               and she became highly
intoxicated. She could not remember precisely what she drank, but she told
                                                                         told me she
drank two or three shots with her friend              starting at about 9:30 pm,
before they went to
                  to Toad's. She then had approximately five more drinks atat Toad's.

At Toad's, Jane Roe         saw Mr. Montague. She spent some time with him there and
left Toad's with him
                   him and some other people at approximately 12:30 am.    am. They went
to another bar that she cannot remember. She had one more drink there     there and then
went home with Mr. Montague. Jane Roe             has blurry memories of that night.
                                                                                  night
She remembers walking with Mr. Montague but does not remember their
                      night She stated that she did not need help
conversation that night.                                       help walking or climbing
               his house. She does not have specific memories of slurring her speech
the stairs in his
or other impaired motor skills, but she believes she must have have been visibly
intoxicated because friends have told her she was visibly drunk at other times when
                                           night Jane Roe
she drank a lot less than she drank that night.                   stated that she went
              Mr. Montague's house, intending to have sexual contact with him, but
willingly to Mr.
not intending to have sexual intercourse. She felt comfortable going with him
because on the previous occasions when he asked if she wanted sex and she said
"no," he respected her decision and did not trytiy to force or coerce her. This time,
                                                               Montague asked
after both parties were undressed and in bed kissing, Mr. Montague                   .
Jane Roe if she
              she wanted to have sex and she said "yes," though in hindsight she does  does
                                                         decision. Immediately after she
              she was capable of making a considered decision.
not believe she
said "yes," he penetrated her, without asking about whether she was using   using
contraception and                     condom.^ Jane Roe
                 and without using a condom?                     does not remember the  the
experience of sexual intercourse after penetration; the next thing she remembers is
waking up in Mr. Montague's bed
waking                               the next morning. She asked him, "We
                                 bed the                                   "We had sex,
right?" and he confirmed that they did. When she went home in the
right?"                                                                the morning she
still felt drunk. She was physically ill and also
still                                             felt terrible that she had agreed to
                                             also felt
sexual intercourse. She blamed herself for agreeing and for drinking so much that
she was unable to  to exercise her usual judgment^
                                         judgment?

   According to Jane Roe
22According                   , she was upset that Mr. Montague did not use a condom
and she later went to the Yale Health Center forfor a pregnancy test even though she
was taking an oral contraceptive. The test was negative.
33 Jane Roe      did not report this incident to the Title IX
                 did                                          Coordinator and she
                                                           IXCoordinator       she does
 not claim this was a violation of Yale policies on sexual consent.
                                                            consent When 1asked
                                                                           I asked about

                                                                                         3
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The next time Jane Roe         saw Mr. Montague was the night of October 18. That
night Jane Roe        went with some friends to a birthday party at SigNufraternity.
She left for the party with her friend            at about 9:15 pm and stayed until
about 11:00 or 11:15 pm. While at the party, she played beer pong and had about
two drinks of alcoholic beverages. After leaving the party, Jane Roe      walked
back to                     to meet her suitemate                        had friends
from home visiting for the weekend and they were hanging out in the common
room. Jane Roe         had two more drinks with             and her friends. They all
then left for a party at the basketball house, where Mr. Montague lived. When they
arrived at the basketball house, Jane Roe      talked and socialized with fiiends.
She did not drink any more alcoholic beverages. She encountered Mr. Montague
leaning against a stone wall outside the house and he called out to her in a friendly
way. He put his hands around her waist and made a flirty joke about how he knew
she had broken ribs from                            and might only be able to have sex
in the missionary position. He invited her outside in the back of the house where
there was a parking lot for the residents' cars, and she went willingly. Jane Roe
and Mr. Montague leaned against his car and kissed. She stopped and told him that
she knew they had sex last time when she was really drunk and that was OK, but she
did not want to do that again this night She asked if it was OKwith him to "hook
up" but not "have sex." Mr. Montague said that would be OKwith him.

It got cold outside and Mr. Montague asked if Jane Roe      wanted to get inside his
car. She agreed. While she was waiting for Mr. Montague to get his car keys,
Jane Roe got a text message from her fnend              asking where she was and
telling her that           and her fiiends were ready to leave this party and go to
another party at Zeta Psi fraternity. Jane Roe     replied that she was with Mr.
Montague, she was fine and she intended to stay at the basketball house.      .
Jane Roe reported to me that she felt comfortable with Mr. Montague and felt in
control of the situation because she had been careful not to drink too much and
because she had been so verbally clear and direct with him about not wanting to
have intercourse. Mr. Montague returned with his keys and he and Jane Roe
continued to talk and kiss inside the car. At one point Mr. Montague commented,
"Are we really doing this?" Jane Roe       asked, "Doing what?" and Mr. Montague
replied, "Fucking in my car." Jane Roe       then reminded him that she did not want
to "have sex" but only to "hook up" and Mr. Montague again said that was OK.

The party wound down and more people came into the back yard. Mr. Montague
asked if Jane Roe     would like to come inside and she agreed. They went in the
back door and up a flight of stairs to Mr. Montague's room. She knew the way and



other witnesses who might have observed her level of impairment due to alcohol,
she told me that she had asked friends about it but none of her fiiends remembered
anything about that particular night The one witness I interviewed who was
present that night,             did not remember anything about Jane Roe
level of intoxication. The incident is reported here in order to describe the context
of the parties' previous interactions when they met on October 18.
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went ahead of him. They both took off all of their clothes'^
                                                         clothes` and got into Mr.
                                                                                Mr.
Montague's bed where they resumed kissing and touching. When they first got
undressed
undressed there
             there was   no further verbal discussion of the boundaries of their sexual
                    was no
consent Mr. Montague kissed Jane Roe
consent.                                            and touched her body,
                                                                      body, including her
genitals, to which Jane Roe          had no objection. She stated to me that she
indicated her consent by kissing him, touching his body (not his genitals) and by not
tensing up. Then Mr. Montague got on top of her, lifted his chest and leaned his
pelvis into her as
                 as if he was preparing to penetrate her. her. Jane Roe       put her hands
up, pressed them against the front of Mr. Montague's shoulders and pushed him, but
not very forcefully.
           forcefully. She said, "Jack, no, II said I wanted to hook up but not have sex."
He looked very drunk, as if he did not hear what she was saying. saying. He then penetrated
her over her objection. Jane Roe          stated that she was surprised and frozen. She
did not move and did not attempt to push Mr. Montague off of her.      her. She did not think
she could push him off if she tried because he was bigger and heavier than she was.     was.
She just          for him to
    just waited for        to stop. |When
                                    When he hewas
                                                was done he got
                                                              got up and
                                                                     and said, "I'm
                                                                               "I'mreally
                                                                                    really
                                   that" She lay still in the bed feeling defeated and
sorry. II know you didn't want that."
confrsed. !
confused.                                                                                       Comment [SS2]: Did she             here that the
                                                                                                                        she report here
                                                                                                friends came up
                                                                                                friends            the room?
                                                                                                             up to the

Mr. Montague dressed and went downstairs, where some of his friends
Mr.                                                                 friends and
housemates were gathered. He came back to the bedroom and told Jane Roe              he
was going to Zeta Psi with his friends and she should stay in his bedroom and wait
for him to come back. He gave her his laptop, which she took to be an offer of
entertainment while she was      waiting. She did not know what to do and had
                             was waiting.
difficulty thinking. She thought she might leave and go home after he was gone to
the party at Zeta. Then she heard people downstairs calling her name and telling
the
              down. She felt frozen and passive and did what they
her to come down.                                                they said without
making a real decision. Friends of Mr. Mr, Montague were complimenting her, saying
                                             campus. This confused her and made her
she was beautiful and the hottest girl on campus.
            Mr. Montague had asked them to be especially nice to her to placate her
wonder if Mr.
because she was upset with him. According to Jane Roe           , Mr. Montague was
planning to gogo to the party at Zeta Psi with some friends but he did not want her to
                 tcLthe
                                          friend of his, whom Jane Roe
go with him. Instead he asked a male friend                                 did not
know, to take her with him to Toad's Place. Mr. Montague said he would meet up
with Jane Roe         later back at his house. She said nothing but went along
passively because she couldn't think.

Jane Roe                                  friend to Toad's Place but she did not want
                          Mr. Montague's friend
               went with Mr.
to be there and didn't stay. She walked in and out and of Toad's without speaking to
Mr. Montague's friend and walked home alone to
Mr.Montague's                                                         When she got
inside the
       the           courtyard she became confused and overwhelmed. It was  was after
           She wanted to go to bed and sleep and not talk with anyone, but she
1:00 am. She
realized that there would be lots of people in her suite and it would be impossible to
go to bed without seeing anyone or being asked a lot of questions.
                                                          questions.            had
friends visiting and they were sleeping in the common room. Jane Roe          said that


4Jane Roe                                       they undressed but she believed
               did not remember precisely how they
that both she and Mr. Montague took off most of their own clothes and he unhooked
her bra.
her bra.
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she lived in a suite with seven other people
                                          people and
                                                 and there was always activity there and
                                                                                       and
   the other large suites in the
in the                         the entry.
                                   entry. She was overwhelmed at the the prospect of
having to talk
            talk or
                 or answer questions and she decided she couldn't go inside her  her suite.
She didn't know
             know what to do and couldn't think clearly. She decided to return to Mr.  Mr.
Montague's house since he was planning to have her return and would not question
her about why she was there or what had    had happened earlier in the
                                                                    the night.
                                                                        night She
thought he would let her go to sleep quietly. She called him by phone and asked
where he was.
            was. She told him she was in                      and would meet him. He
told her to
          to meet him on Park Street near                         and she did (Exhibits E,
                                                                                         E,
H).5  They walked together back to his house. Jane Roe
H).s They                                                         does not remember the
details of their conversation on thethe way back but she
                                                       she described it as normal and
flirty. She told Mr. Montague she just wanted to go to sleep and he made a joke
about being too                         have sex. When Jane Roe
               too drunk to be able to have                             returned to Mr.
Montague's bedroom she did    did not take off her clothes again and got in bed. Mr.
Montague got on top top of her again but she pushed him and said, "No.     I don't sleep
                                                                      "No. 1don't  sleep
around." Mr. Montague said, "It's not sleeping around. This will be the   the third time."
                                                                                    time."
                 again, said she just wanted to go to sleep and rolled away from Mr.
She said "No" again,                                                                 Mr.
Montague to the other side of     the queen size bed. He did
                                ofthe                      did not object and they both
went toto sleep. In the morning, Jane Roe         woke upup and asked Mr. Montague to let
her out of   the house, which required a key. They had
          ofthe                                        had no conversation about what
had happened that night and Jane Roe
had                                              gave no indication that she was upset.

Jane Roe      walked home to                       as quickly as she could. She was
      and embarrassed that it was morning and she was
upset and                                              was dressed up in a skirt as if
                                              would not talk to anyone
she were going to a party. She thought she would                 anyone and
                                                                         and would
                                                                             would
push what had happened with Mr. Montague out of her mind until after fall break
                  friends would be done with their exams. She got home at
when she and her fHends
approximately 10:00 amam on October 19.6
                                       19.® There  was no one
                                            There was      one in the
                                                                   the common room
                                                                                room
and she sat down. Jane Roe          suitemate                       came in and asked
Jane Roe             was your night?" Jane Roe
               "How was                                told her it was terrible. She
reported what had happened and started to cry. A second suitemate
also came out of her bedroom and she also listened to Jane Roe            account of
what happened.                                  comforted Jane Roe          made some
tea and told Jane Roe      to take a shower. Jane Roe          had been planning to go
to New York that afternoon to
to New                       to see a ballet with several friends:
                   and another suitemate,                    '. She went with her



           H documents that Jane Roe
55 Exhibit H                             swiped her IDID card at the
                                         not swipe into any dormitory entry and
gate at 1:34 am on October 19, 2014, did not
then swiped her card at the
                        the                    gate at 1:40 am. Exhibit EE shows a
                   Mr. Montague to Jane Roe
      message from Mr.
 text message                                     at 1:30 am stating that he was at

  Exhibit H documents that Jane Roe
®Exhibit
6                                          entered the
                                                    the                   gate
                                                                          gate at 9:57
am
am and entered                at 9:58 am on October 19,  2014.
                                                      19,2014.
'7 I1 did
      did not interview             because she was not with Jane Roe        the night
     October 18 and her testimony was likely to be repetitive of the other suitemates'
 of October
 reports.

                                                                                          6
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friends as planned and hoped to get away from her thoughts about Mr. Montague.
She cried for much of the ride on the train but got a lot of support from her friends.

Friends of Jane Roe             suggested that she talk with someone about what Mr.  Mr.
Montague had done to her but she did not want to make a complaint at that time.       time.
She did call the SHARE Center on October 21 or 22 and spoke with                            ,
     .,.. about her options. Jane Roe          decided that she wanted to talk with Mr.
Montague herself, to make sure he understood that what he had done was         was wrong
and so that he would not do it again to anyone else.   else. She discussed with
howshe
how  she might effectively communicate with     with him. She also talked with
                                                                           withaa 'graduate
                                                                                   graduate
            fTien4 who advised her
student friend                      herto
                                        to write down what had happened so  sothatshe
                                                                                that she        Comment [SS3]:
                                                                                                            [SS3]; Should you conrirm
                                                                                                                                confirm with this
                                                                                                                                             this
                                                                                                person that     spoke
                                                                                                                spoke to him/her and that the
would have it   it ififshe laterdecided
                       she later         thatshe
                                 decided that she did want to
                                                            to pursue an official complaint.
                                                                                  complaint     pseron told her
                                                                                                            her to write down
                                                                                                                         down the incident?
                                                                                                                                  Incident?
Jane Roe          did make such a record on October 22;   22; this undated document is
attached
attached as  as Exhibit
                Exhibit D.


On Sunday, October 26,                   day of fall break, Jane Roe
                          2014, the last day
                      26,2014,                                          texted Mr.
Montague asking him to meet with her (Exhibit E). She was irritated that he was not
immediately responsive and seemed to be putting her off (Exhibit E) but he did
agree to meet on October 28. They sat at a picnic table outside
            briefly. Jane Roe
and spoke briefly.                 spoke and asked Mr. Montague to listen. She told
him she had made it clear to him that she didn't want to have sex with him and she
had not been feeling good about what happened on October 18. He said he was    was
sorry that she felt that way.
                         way. He said that he had been very drunk that night.
                                                                         night. She
thought he was very careful with his words, trying to be nice but not to take
responsibility for any misconduct. He stated that he thought she was a really nice
person and "down to earth." He hoped they would be able to remain friends but he
could understand if she didn't want to see him anymore. He offered that if he ran
into her at a party or elsewhere he would leave so that she would not be
uncomfortable. Jane Roe
uncomfortable.                  felt that she had been able toto communicate how she
felt about the
           the encounter on October 18 and she felt good about that even though Mr.
Montague did not admit wrongdoing.

During the fall semester 2014, Jane Roe       had some intrusive thoughts and
nightmares about Mr. Montague. She made a difficult decision not to continue on
                        because she could not imagine having to
Mr. Montague at basketball games. She resigned her position without telling most of
          the reason for her decision; instead she blamed her choice not to continue
on                               (Exhibits F,
                                           F, G).
                                              Gj. Later in the fall of 2014,
                                                                       2014^ Ms.
Jane Roe began dating a man who was very nice to her and helped her to put Mr.
Montague out of her mind. She did not see Mr. Montague except occasionally in
passing. She was mostly happy until the end of thethe spring semester when she saw
Mr. Montague talking with a male friend of hers at Spring Fling.
                                                             Fling. This surprised her
and reawakened strong negative memories and feelings.
                                                   feelings. She found it extremely
upsetting that someone she liked and respected would be friendly with Mr.
Montague, probably not knowing that he was someone who would force himself on
a woman over her objection.
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Jane Roe                           find that she continued to have strong memories and
               was surprised to find
upsetting feelings about Mr.
                           Mr. Montague when she returned to campus in the fall of
2015. She  saw him around campus and New
       Shesaw                                 New Haven more than she had in the spring,
           did not try to communicate
though he did              communicatewith              threaten her. She
                                            with her or threaten       She had expected to
put the incident of the previous fall
                                    fall behind her but it was becoming harder rather
than easier to avoid thinking about it. Jane Roe
than                                                       talked with some of her friends,
                                                                                    friends,
who again advised her to consider making a complaint or talking with a counselor.
Jane Roe         suitemate                happened to be speaking with Title IX
Coordinator Angela Gleason about a completely unrelated matter and while she was
there she mentioned a friend
                         Iriend who had had a bad experience, provided an outline of
what had happened between Jane Roe               and Mr.
                                                     Mr. Montague and asked how she
could help her
           her friend.
                friend.              did not give Jane Roe          name at this
                                                                             this point but
merely requested information about her friend's options. Ms.     Ms. Gleason talked about
the various formal
            formal and informal procedures available to deal with sexual
misconduct and encouraged                    to reach out to her friend.
                                                                 friend.
explained to Jane Roe        what she had learned from Ms.   Ms. Gleason, including
                                                                          including the
option of making an anonymous informal complaint.
                                                complaint This
                                                            This would allow
Jane Roe to tell her story to the Title IX    Coordinator but request that her name be
                                           IXCoordinator
kept confidential. The Title IX Coordinator would then  then call Mr.
                                                                  Mr. Montague in for a
conversation about the fact that a complaint had been made against him and would
suggest that he participate in extra training about communication and sexual
consent.
consent               liked this idea because it might fulfill her goal of making sure
Mr. Montague understood that his behavior was wrong and hurtful and stop him
from doing
      doing it again to someone else. She did not want to pursue a formal complaint
because she did not want to engage in the lengthy and difficult process of telling the
story repeatedly and being questioned in detail by strangers on the UWC. She stated
to me that she was not interested in having Mr. Montague punished but in having
him learn so that he would not hurt anyone else.

Based on what she had learned from                 , Jane Roe       decided to
                                                                             to talk with
Ms. Gleason about Mr. Montague. She met with Ms. Gleason on October 19, 2015.
On November 6, she heard back from Ms. Gleason that she would not be able to keep              Comment [SS4]: Was the    che recommendation
                                                                                                                             recommendatian for
Jane Roe                               Ms. Gleason explained to Jane Roe
                  name confidential. Ms.                                          that Mr.              training." sensitivity training, or
                                                                                               "consent training,"
                                                                                                          else?
                                                                                               something else?
Montague had already been given aa recommendation for !consent[consent training laftetia
                                                                                 [afte^a       Comment [AMS]:[AM5]: There were two
previous complaint and so that option was no longer open to him. Ms. Gleason                   requirements; (i) that he receive
                                                                                               requirements:                 receive sexual
                                                                                                                                      sexual
expressed concern that thethe incident Jane Roe        had
                                                       had reported to her was serious.        harassment and gender sensitivity training and
                                                                                               harassment                                        and
                                                                                               (li) that he
                                                                                               (ii)      he meet
                                                                                                            meet with           once each term
                                                                                                                        SHAREonce
                                                                                                                   with SHARE                term for
She told Jane Roe        that she did not have to file a complaint herself and a Title IXIX    the remainder of his time
                                                                                               theremainderofhis                     to review and
                                                                                                                            at Yale to
                                                                                                                       timeatYale
                              the event that Jane Roe
Coordinator could do it. In the                              elected not to bring a                        his interactions and
                                                                                               reflect on his                and relationships with
                                                                                                                                                  with
                                                                                               female
                                                                                               female  students   at Yale.  The
                                                                                                                  at Vale. The   requirements    were
complaint, Ms. Gleason asked her to cooperate with the process as    as a witness.             imposed on October 21,      2013.
                                                                                                                       21,2013.
Jane Roe was
           was surprised and somewhat disappointed that she had been thrust into a                          IMBG]: This is an accurate
                                                                                               Comment [MB6]:
process she had not sought out,out, but she agreed to cooperate with this investigation        description of what
                                                                                                               what       told me about her
                                                                                               motivation and
                                                                                                           and her   decision-making about
                                                                                                                 herdecision-makingabout
for the same reason she went to  to Ms. Gleason in the first place. She stated that she                                      It is slightly different
                                                                                                                 this case. It
                                                                                               participating in this
wants Mr. Montague to understand what he did was wrong and not repeat it. She                  from what Angie
                                                                                               from        Angle Gleason      which is not
                                                                                                                   Gleason,,which          not relevant
                                                                                               told me.
                                                                                                    me. I am concerned that it
                                                                                                        I am                      it may be be too
                                                                                                                                               too much
was especially motivated to to participate in the investigation and hearing process            information about his            record, which
                                                                                                                    his prior record,      which is not
after she heard that Mr. Montague had already had another complaint against him,                           this investigation. II would be
                                                                                                        to this
                                                                                               relevant to                                    be happy
                                                                                                                                                 happy to
                                                                                                                                                        to
                                                                                                          of this
                                                                                               take some of        out if
                                                                                                              this out if you
                                                                                                                          you think it it is too
                                                                                                                                             too
asnil
asfi4 she         was even more important to protect
      she felt it was                           protect other  .iwomen1
                                                         other[womenjj                                       Please advise.
                                                                                               prejudicial. Please

                                                                                               Comment [DMP7]: I       am fine with this
                                                                                                                      1am           this -— the
                                                                                                                                            the
                                                                                                                     the previous violations
                                                                                               panel will hear about the
                                                                                               panel
                                                                                               before deciding on culpability
                                                                                                                  culpabiliQr anyway.
                                                                                                                              anyway.
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Respondent's Version of Events:

                          his first interactions with Jane Roe
Mr. Montague's report of his                                           matches her
account He stated to me that he met Jane Roe
account.                                               at a party at his house early in
September 2014. He was
                     was immediately attracted to her. her. The two parties spent the
night together and had consensual sexual contact,
                                             contact, including kissing
                                                                kissing and touching
but not intercourse. Early in the morning, Jane Roe          asked if she could give Mr.
Montague oral sex and he agreed. Mr. Montague enjoyed Jane Roe                company
and wanted to see
               see her again.
                       again. They traded phone numbers and texted each other
before meeting again.

Mr. Montague reported a second sexual encounter with Jane Roe            n a few
                                                                             few weeks
later.8
Iater.8 They
        They met at
                  at.aa club or bar and walked back to Mr. Montague's house arm in
arm, along with some of his teammates. According to Mr. Montague, this second
                                       first in that Jane Roe
sexual encounter was similar to the first                         came willingly to his
                                                                                    his
room and they engaged in consensual kissing and other sexual contact. This time
they did have vaginal intercourse. Mr. Montague remembered few details about this
encounter and stated that he
encounter                    he did not recall whether he or Jane Roe        had been
                                                                                 been
drinking a lot that night.
                    night. He did not immediately remember that this incident took
place after an event at Toad's Place but he accepted Jane Roe           report of that
context. He did not recall Jane Roe         being impaired by alcohol in any way. She
seemed to him to be having a good time and laughed as she walked home with him.
She did not need help walking and participated actively in sexual activity with him.
By Mr. Montague's account, there was was no express verbal discussion of the
boundaries of sexual consent until, just prior to intercourse, Mr. Montague asked
Jane Roe if she wanted to "have sex"                   "yes." According to Mr. Montague,
                                    sex" and she said "yes."
he had no reason to doubt that Jane Roe           was capable of sexual consent and he
believed that her consent that night was voluntary.

Mr. Montague stated that his third sexual encounter with Jane Roe          occurred on
October 18, 2014, after another party at his house. His description of this incident
differs significantly from hers. According to Mr. Montague, he traded text messages
with Jane Roe        prior to this party and he knew she was planning to be present.9
                                                                              present.^
He wanted to be able to have a good time with her and so he was careful not to drink
     much before
too much
too        before she
                  she arrived.
                       arrived. He
                                 He believes
                                    believes he drank between
                                             he drank          four and
                                                      between four  and seven
                                                                        seven drinks
                                                                                drinks
of alcohol over a period of several hours. He was happy to see Jane Roe          at the
party and they talked and socialized together. They went outside in thethe backyard of
his house and kissed, first leaning against his truck and then inside the truck.
                                                                          truck. After a


  Mr.
®Mr.
8      Montague's description of what he remembers as his second sexual encounter
with Jane Roe        closely matches her description of what she says was their third
encounter. Mr. Montague does not remember getting together with Jane Roe
between the time he first met her at his house and the time they left Toad's together.
                                         was another encounter before their meeting at
He states that it is possible that there was
Toad's but
Toad's  but he
            he does   not remember
               does not   remember itit.
   Mr. Montague could not provide copies of these messages because he has changed
9^ Mr.
             has lost access to text messages from that time. He was not able to
 phones and has
obtain the messages from his cell phone carrier.

                                                                                           9
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while, he invited her inside and they went to his bedroom. They both got
completely undressed10
             undressed^® and got into his bed. They resumed kissing and touching
and then he asked ififshe         to have sex. iShe
                      she wanted to            jShe agreed land
                                                            |and they
                                                                 the^ did have              Comment [AM8]:
                                                                                                      [AMS]: Did IM say how
                                                                                                                  JMsay
                                                                                            communicated
                                                                                            communicaced her agreement to intercourse?
                                                                                                                       Cointercourse?
intercourse.
intercourse. There was nothing about this encounter that made Mr.   Mr. Montague
                                                                        Montague think
Jane Roe       had any hesitation or discomfort with having
                                                       having intercourse with him.
jHe remembered changing positions during the
the                                          thecourse
                                                 course ofofsex       themissionary
                                                            sex from the   missionary
                          and Jane Roe
position to "doggy style" and                didnotobject}.
                                             did                         that she
                                                 not object_ He denies that    sheever
                                                                                  ever      Comment [SS9]: Did you ask         if
                                                                                                                               If their
                                                                                            positions changed during intercourse?
told him that she wanted to "hook up but not have sex."11
                                                     sex."^^ He
                                                              He denied making a
comment about "fucking in [his] car." He denied that Jane Roe          told him to stop,
put her hands up to his shoulders and pushed him. He also also denied stating to her
after intercourse that he was sorry because he knew she didn't wantwantjtha^
                                                                         Ithat;                         [AMIO]: Does he recall his friends
                                                                                            Comment [AM10]:                        friends
                                                                                            coming to his
                                                                                                      his room?

When he described this                     Mr. Montague stated that Jane Roe
                    this encounter to me, Mr.
spent the night with him as
                          as she had the
                                     the previous two times that they had been
together. He did not report that they got dressed, left the house, went to other
parties and met up again outside                     as reported by Jane Roe
                                                     as
When I1 asked him about these details of Jane Roe         account, he seemed
somewhat surprised but did not deny that this had occurred. When II interviewed
Mr. Montague a second time he stated that he had tried hard to remember whether
he and Jane Roe       had
                      had left the house and returned but he still did not have any
memory of those events.

Mr. Montague stated that he believed his interaction with Jane Roe          on October
                   well until he received a text from her on October 26 in which she
18, 2014 had gone well
asked to meet with him to discuss what hadhad happened (Exhibit
                                                          [Exhibit E). The tone of the
message indicated to him that she was not happy and that she wanted to tell him
           bad. He was worried about what she would say. The first things that
something bad.
                                 was pregnant or that she had a sexually transmitted
came to his mind were that she was
disease. He could not meet with her right away because of his basketball practice
schedule but he agreed to meet a few days later. They met at a picnic table outside
                                   was going to a concert at Toad's with some friends.
                    just before he was                                           friends.
Jane Roe      told him that she had not wanted to have sex on the night of October
           was not happy about what had happened. According to Mr. Montague,
18 and she was
he interpreted what Jane Roe        said as stating that she was disappointed in what
happened and regretted having sex. He denied that she told him that she had
                                                  objection. He did not believe he had
objected clearly and he had proceeded over her objection.
done anything wrong and he did not understand Jane Roe                   accusing him of
                                                                   to be accusing
misconduct. He told Jane Roe        that he was sorry that she was feeling upset
about the encounter. He                                  for her" if she wanted to
                       He said that he would "be there for                      to talk
                                                                                   talk
more about this     an3^hing else in the future. Jane Roe
            this or anything                                    responded
                                             anjdhing more to do with him and he said
immediately that she did not want to have anything

10 Mr. Montague's memory was not clear as to how they got undressed. He believed
they each took off their own clothes but he may have unhooked Jane Roe            bra.
                                                                                  bra.
This
This is
     is consistent with Jane Roe
        consistent with                 account.
                                        account.
11 Mr.
11                                                             this statement at least
   Mr. Montague specifically denied her claims that she made this
three times: just after beginning to kiss him, a second time while in the truck and a
third time when he got on top of her in bed.

                                                                                      10
                                                                                      10
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he would leave her alone. He denied Jane Roe      report that he had volunteered
that he would leave any venue where she was in order to make sure she was not
uncomfortable around him. Despite the discomfort of the
                                                    the conversation Mr.
                                                                      Mr.
Montague and Jane Roe       parted amicably and hugged at the end of this
conversation.12
conversation.12

Mr. Montague stated that he and Jane Roe
Mr.                                              never spoke with each other again.
Occasionally he would see
                        see her around campus but she would ignore him. He was  was
surprised that on one occasion during the spring semester of 2015 he was invited to
a party at Jane Roe        sorority but he was then asked not to attend because
                 sororily did not want him there. He believed Jane Roe
someone in the sorority                                                        had
"black-balled" him.i^
                him.13 He
                       He knew he had said he would stay away from her after their
last meeting 2n
             Qn October 28, 2014, but he was
                                           was surprised that she felt so strongly
about not having him around that she would ask another member of her sorority to
dis-invite him.
dis-invite him.


Mr. Montague was alsoalso surprised and confused this fall when he was at a party
hosted by the Owl's Throne, a junior society that he belonged to, and a girl he did
not know approached him and told him he   he had to leave the party right away. This
girl explained that he could not be at the party because Jane Roe         was
                                                                          was there and
    was supposed to stay away from Jane Roe
he was                                               because he had "raped" her. Mr.
                                                                                   Mr.
Montague was shocked to hear the allegation that he had "raped" Jane Roe
when
when she
       she had
           had never
               never made such an accusation herself and he continued to believe
that he had done nothing wrong. He was was also confused by the demand that he leave
the party immediately to get away from Jane Roe            From Mr. Montague's
                                               his responsibility to get away from
perspective, he had never agreed that it was his
anyplace where Jane Roe          was present and he had not even seen Jane Roe
at this party before he was accosted by her friend. Shortly after this last interaction,
Mr. Montague received the UWC UWC complaint in the current case. Again, he was
           anddistressed.
surprised and   distressed. He discussed the  matterwith
                                          the matter  with |herj
                                                            ieri former housemate and      Comment [ssii]; Her housemate or his?
                                                                                           Comment [SS11]: Her housemate or his?
basketball captain,                   who offered him support.
                                    , who              support

Mr. Montague explained to me that the allegation in this case is extremely
distressing and anxiety provoking for him. He stated that he liked Jane Roe         and
never intended to hurt her. He emphasized that he considers himself a gentleman
who would never force himself on a woman. Mr. Montague also emphasized the
confusing nature of Jane Roe         behavior after sexual intercourse on October 18
as evidence that her story is incredible. He argues that she did not look upset
afterwards or tell him that he had done anything
                                          an)^hing wrong. Although he does not
remember her leaving hishis house late at night and then returning, he argues that if he
had really committed a sexual assault against her,
                                                 her, it makes no sense for  .
Jane Roe to return voluntarily to his bed. He suggests that Jane Roe        may have



^2
12 Jane Roe    acknowledged hugging Mr. Montague at the end of the conversation
on October 28. She explained that she wanted to be firm and clear with Mr.
Montague but she did not want to be hostile or provoke a hostile response from him.
^2 Jane Roe
13             agrees that this occurred.

                                                                                     11
                                                                                     11
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felt regretful about having intercourse with him and then reinterpreted their
encounter as nonconsensual.


Testimony of other
             other witnesses:


                        friend of Jane Roe
                   is a friend                   They were freshman roommates and   and
suitemates last year. She does not know Mr. Montague.                   reported that on
the night of October 18,   2014 she was not with Jane Roe
                      18,2014                                     Jane Roe      went
out with their suitemate                            did not see Jane Roe      until the
following morning.
          morning.                got up early on Sunday October 19 and went for a
run. When she returned to the suite she found Jane Roe           on the common room
sofa crying.              hugged Jane Roe       but Jane Roe        continued sobbing
                   for about ten minutes. Eventually Jane Roe
and could not talk for                                                 told
that she had had a terrible night with Mr. Montague. Jane Roe          had previously
told            about another encounter with Mr. Montague. On that occasion
Jane Roe had been very drunk and had said yes  yes to sex with Mr.
                                                                Mr. Montague even
though she didn't really want to. After that she was upset and very angry with
herself. Jane Roe       now told              that on the night of October 18,
Jane Roe told Mr. Montague that she did not want what had happened before to
happen again. She told him they could
                                    could hang out but not have
                                                           have intercourse. He
pushed her to agree to sex. She said "no" but he proceeded anyway. Later, he said
he knew she didn't want that and he apologized. Jane Roe           stayed the night with
him because she was in shock and panicked.

           reported that there was a striking difference in Jane Roe         demeanor
             day after her first sexual intercourse with Mr. Montague and the
between the day                                                             the
morning of October 19. On thethe earlier occasion, Jane Roe      felt unhappy and
                                                                              and
           herself. She felt responsible for what happened because she was so
angry with herself.
drunk. She was upset but was not crying or falling apart.
                                                     apart In contrast, on October 19,
Jane Roe      was sobbing uncontrollably as she told the
              was                                       the story of what happened.
That afternoon, Jane Roe        went with             and several other suitemates to
                   ballet, but Jane Roe
New York to see a ballet,                    was upset and cried on and off the
                                                                            the whole
day.

                     friend of Jane Roe
                is a friend                                 the same suite last year and
                                              They lived in the                      and
                same entry in
            the same
now live in the                                                  does not know Mr.
Montague.
Montague.                              she was not with Jane Roe
                           stated that she                             on the
                                                                          the night of
October 18,  2014.
        18,2014.                   woke up the next morning at approximately 9:00
am. When she went out into the common room she found Jane Roe
am.                                                                         crying.
                                         was attempting to comfort Jane Roe
                   , another suitemate, was
Jane Roe told                                 that she had been at the basketball
                      night She ran into Mr. Montague and went to his room with
house the previous night.
him. Jane Roe
him.                  was not drunk. She and Mr. Montague were "hooking up" and
Mr. Montague wanted to "have sex." Jane Roe
Mr.                                                   said "no." She pushed on his
chest but he was too heavy for her to push off. He went ahead and had had intercourse
with Jane Roe        even after she said "no." Afterwards, Jane Roe       stayed at Mr.



                                                                                     12
                                                                                     12
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Montague's house overnight because it was very late and she did not want to walk
home
home alone.
     alone.


             is a friend and suitemate of Jane Roe          They have been suitemates
for two years.
         years.                    who Mr. Montague is but does
                            knows who                         does not consider him a
friend.             reported that on the weekend of October 18, 2014 she was out of
town for a field hockey game.
                           game. When she returned to campus on Sunday, October 19,
Jane Roe        was away in New York at the ballet.    The next day, Jane Roe
                                                ballet The                          told
          about her encounter with Mr. Montague on October 18. According to
     , Jane Roe        told her that she went to a party at the basketball house on
Saturday night October 18. She saw Mr. Montague and told him that she knew they
had sex last time they were together but she did not want to do that again. She
wanted to hook up but not have sex. He said that would be OK     OK but then he ignored
her. Jane Roe
her.                  told           that she and Mr. Montague were hooking up in his
room. He was on top of her. her. He was very drunk and she was relatively sober. She
said she didn't want to have sex and he went ahead anyway. She resisted but he
continued. He did not use a condom. After he was finished, he apologized and told
Jane Roe        that
                that he  knew she
                     he knew        didn't want
                                she didn't want that.
                                                that.


          stated that she
          stated      she was concerned about about Jane Roe         reaction to the events
                                                                                      events
with Mr. Montague, but she knows Jane Roe               to be a person who presents
           doing fine and who is able to compartmentalize bad experiences. Last
herself as doing
spring she                            in order to stay away from Mr. Montague, which
wasaa big
was    bigdisruption   in her
           disruption in   her life. !According
                                     Recording toto           Jane Roe      hasseemed
                                                                            has  seemed                     [S512]: I'm not sure
                                                                                                Comment [SS12]:                 sure II understand
                                                                                                what      are trying to communicate in
                                                                                                      you are
                                                                                                whatyou                                  In the first
more stressed and   unhappy      this fall.          also reported  an event in early           sentence and
                                                                                                          and whether itIt rela to the point made in  In
November 2015 in which Jane Roe               and           were at a party at the football     the second.
house. Jane Roe         told             that she noticed Mr. Montague was also there.
          was aware that Mr. Montague had agreed to stay away from Jane Roe
          was
and to leave anyplace that they ended up together. She asked Jane Roe                if she
wanted            to ask Mr. Montague to leave.leave. At Jane Roe        request,
approached Mr. Montague and told him that he needed to leave the party because
Jane Roe       was there. Mr. Montague responded that he was a senior and he was
                        friends. He stated that it had been a year since he had seen
   this party with his friends.
at this
Jane Roe and if she wanted to talk to him she could do so herself.                  told
                                                                                    told Mr.
                                                                                          Mr.
                      leave because "you raped her." The altercation ended when
Montague he had to leave
        boyfriend intervened. He told Mr.                                   Mr. Montague
                                            Mr. Montague he should leave. Mr.
did not leave but he did not approach Jane Roe             for the remainder of the party.

             is a close friend and suitemate of Jane Roe           Prior to October 2014,
           who Mr. Montague was based on the fact that both were athletes and
she knew who
because they had some mutual friends.                   is not a friend of Mr. Montague.
                                was with Jane Roe
            reported that she was                         on Saturday, October 18,   2014.
                                                                                  18,2014.
                                   friends visiting her that weekend to attend the Yale
            had two high school friends                                               Yale
football game. After the game,                and her friends         hanging out in the
                                                       friends were hanging           the
suite and Jane Roe         joined them sometime in the evening. At about 10:30 or
11:00 pm,              , Jane Roe       and                two friends
                                                               friends went together to a
party at the basketball house, where Mr. Montague lived. lived. They saw Mr. Montague at
the party and Jane Roe         went to talk with him.                        friends were
                                                                     and her friends


                                                                                           13
                                                                                           13
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                                Afteran
socializing with other people. After              more,they
                                      an hour or more,        decidedthey
                                                         they decided  they were ready
              go to another party at Zeta
to leave and go                      ZetaPsi
                                          Psi fraternity.                             go
                                                                      did not want to go
without Jane Roe        or at least without knowing where Jane Roe             was.
                                  Come outside. We are going to leave."14
       texted, "Where are you? Come                                leave.''^'^
Jane Roe texted back, "I'm with Jack. I'm fine."               knew that Jane Roe
had been with Mr. Montague before. She knew that Jane Roe
had                                                                   had no romantic
                                                                      had
feelings for him but she was sexually attracted to him.               was not
                                                                      was
completely comfortable leaving thethe party without Jane Roe        but Jane Roe
text was clear and coherent,
                    coherent so             felt that her friend was not too drunk and
                                                                     Montague.
was making a conscious decision to remain at the party with Mr. Montague.
                 her high school friends, spent some time at the Zeta party and then
       left with her
went back to the suite. When               got home it was 1:00 or 1:30 am and
Jane Roe was not there.

             and her friends woke up early, at 9:00 or 9:30 am, and  and went out to
breakfast.
breakfast                 did not see Jane Roe        before she left the suite but she did
not know if Jane Roe          had come back late and was in her room or if she was still
out.
out.              came back to to the suite without her visiting friends at around 11:30
am or noon         found Jane Roe
       noon and found                     in the common room crying
                                                                  crying with
                                                                         with some of their
other suitemates. Jane Roe           was very upset.
                                     was         upset She was saying things about her
night with Mr. Montague, such as, "I told him I didn't want sex," "I told him no," "He
was on top,"
         top," and "I
                    "1 couldn't push him off." Later that dayday or the next day,
Jane Roe told
            told              more details about what had happened. She explained that
after             and her friends had left the basketball house, and before
Jane Roe went withwith Mr. Montague to his room,room, she told
                                                           told him specifically that she
                                                                                      she
wanted to hook up up and talk but she didn't want to  to have sex, but Mr. Montague didn't
listen. Jane Roe         also told
                              told             that after having sex, Mr.
                                                                       Mr. Montague
                                                                           Montague got
dressed and went downstairs where some of his friends were gathered.
Jane Roe followed him and did what he told her to do because she felt confused and
out of control and didn't know what else to do. She went to Toad's with    with people she
didn't know.
       know. She left Toad's and came came back to                      but didn't want to
come
come inside her suite so she called Mr. Mr. Montague and went back to his house with
him. She then returned home to                           in the
                                                            the morning. According to
       , this type of passive, confused behavior is not typical for Jane Roe

           also reported that after Jane Roe        encounter with Mr.
                                                                     Mr. Montague on
October 18, Jane Roe       was
                           was highly reactive whenever she saw Mr. Montague
                                                                        Montague on
campus. She would become irritable and cranky, which was not like her.  her. She quit
                       because she did not want to
him. Jane Roe                                                       knows that Mr.
                    has been anxious about going out because she knows           Mr.
Montague could
           could pop up  answhere. Jane Roe
                     up anywhere.                    friends have
                                                             have been careful to
       for Mr. Montague and to stay close to Jane Roe
watch for                                                    whenever they go places
that he might be. They try to find alternative locations to go out so that they will not
run into him.
         him.


14Neither Jane Roe      nor             provided these text messages. Their
description of the messages is similar and does not conflict with any statement of
Mr. Montague.

                                                                                        14
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       fall of 2015, Jane Roe
In the fall                            told              that she was thinking about how it
had been nearly a year since her encounter with Mr. Montagueand
                                                              Montague and she was having
nightmares again. At around the same time, Title IX Coordinator Angela             Gleason
                                                                            Angela Gleason
asked to speak with                  about an unrelated incident.                 met with Ms.
Gleason on September 21, 2015. At the end of their conversation, Ms.         Ms. Gleason asked
             if she had any questions.                  told
                                                        told Ms. Gleason about what had
happened to Jane Roe            and asked Ms. Gleason
                                                 Gleason what to do to help her friend.
        told Ms.            Mr. Montague's name but not Jane Roe
              Ms. Gleason Mr.                                                    Ms. Gleason
                                                                                 Ms.
urged               to talk with her friend about coming forward and reporting the
incident.
incident                waited a few weeks to talk with Jane Roe             because she
wasn't sure what Jane Roe               reaction would be, but she did talk with
Jane Roe on October 15. Jane Roe               was
                                               was nervous about talking to Ms. Gleason
and asked                to reach out again and ask some questions for her before she
decided whether to meet with Ms.     Ms. Gleason. OnOn October 16,               met again
with Ms.   Gleason to discuss the
     Ms.Gleason                  the situation involving Jane Roe         , but            still
did not reveal her name.
                     name. Ms.Ms. Gleason suggested various options that
could offer her friend, including the the idea of making an anonymous complaint.
                                                                             complaint This
could result in a conversation between Ms.    Ms. Gleason and Mr. Montague and a referral
of Mr.
   Mr. Montague to sensitivity training, to help him avoid repeating his behavior
with anyone else.                  told Jane Roe         about her conversation with Ms.
Gleason and Jane Roe           liked the
                                      the idea of having Mr. Montague referred to
sensitivity training. Jane Roe                       .
                                         then-ideatifie€14ier-self-a
                                         then idontifiod   horsclfandnd went to
                                                                             to talk with Ms.
Gleason.

             is a good friend of Jane Roe       She graduated from Yale in the spring
of 2015.               the person who recruited Jane Roe
                    is the                                     to
       and also to the        sorority.           knows who Mr. Montague is but is
                                                  knows
not a friend of his. She knew Jane Roe        had several sexual encounters with Mr.
Montague but              never saw them together.            was at the
sponsored event at Toad's Place on September 24,     2014.
                                                  24,2014.            reported that she
came to the event with Jane Roe         and they took pictures together at the
beginning of the party but            had no specific memories of Jane Roe       at the
event later in the evening.            did not see how much alcohol Jane Roe
drank or how her behavior may have been affected by alcohol. She did not see Ms.  Ms.
Jane Roe with Mr. Montague.

          was with Jane Roe
          was                       on the night of October 18, 2014. They went
together to a birthday party
                         parly for two friends,
                                        fnends, which took place at Sig Nu fraternity. It
was not a big party and there was not a lot of alcohol served there.               and
Jane Roe stayed at this party for about an hour or an hour and  and a half. After they
                                                                                  they left,
          went
          went home    and Jane Roe
                 home and                  went out with other
                                                          other friends.            did not
attend the party at Mr. Montague's house that night and did not see Jane Roe
after they left Sig Nu. The next day,            texted Jane Roe       to ask how
                                                                              how the
                       been. Jane Roe
rest of her night had been.                  told her over text message that the
                                                                              the night
was terrible. She had told Mr. Montague she did not want to have sex but he went
ahead anyway.
       anjnvay. She was not able to push him away. Afterwards he apologized and
said he knew she had                 that Jane Roe
                    had not wanted that.                 said she had
                                                                   had been feeling
                                                                             feeling so


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upset she was physically ill
                         ill all morning (Exhibit F).
                                                  F).          tried to be supportive
ofherfriend.   [Lateii Jane Roe
of her friend. Later,                       thatshe
                                    decided that she could not
                                                           not                                        [AMIS]: It
                                                                                          Comment [AM13]:          Kwould
                                                                                                                      would be helpful to
                                                                                          include
                                                                                          Include here,
                                                                                                  here, if
                                                                                                        if it's available, the date when
                   because she did not want to                     Mr. Montague           resigned from
(Exhibit F).

                                       Mr.Montague.
                  is a close friend of Mr.            He graduated from Yale College in
                                           Montague. He
2015. Last   year he was
         Lastyear                                              and a housemate of Mr.
Montague.                 was present at the basketball house on both occasions when
Jane Roe        attended parties there and stayed overnight with Mr.Mr. Montague.
        -stated that Mr. Montague had several encounters with Jane Roe         in the
fall of 2014, and he believed she stayed overnight at their house
                                                              house somewhere
between two and five five times.            knew that Mr. Montague was having a sexual
relationship with Jane Roe          but he did not personally observe much of their
interaction. What interactions he did see seemed positive.

           described the basketball house asas an active house that hosted a lot of
large parties. When they hosted parties, the house was usually crowded and loud.loud.
They served a lot of alcoholic beverages.              had no specific memories of Mr.
                                                                                    Mr.
Montague and Jane Roe         at the party on October 18, 2014. He did not see how
they were touching or interacting and he had no personal knowledge of how Ms.
Jane Roe came to stay overnight or the nature of her sexual contact with Mr.
Montague.

           reported that a few days or a week after October 18, Mr.
                                                                 Mr. Montague came
to him upset because something bad was going on with Jane Roe             She had
texted Mr. Montague and asked to meet for a conversation. Her tone was serious
and different than she had been before. Mr. Montague was worried that she was
upset with him about something and he didn't know what it was.was. Mr. Montague
worried that perhaps she thought she was pregnant.
                                            pregnant Mr. Montague arranged to
meet Jane Roe       to discuss what was on her mind, and afterwards he he came to
       again and told him that Jane Roe      had said she had not wanted to have
sex that night and was disappointed that it had happened. Mr. Montague was
shocked that she felt that way because it had been his impression that she was
                                                                             was
having a good time and wanted to do everything
                                      ever5d:hing that they did sexually.
                                                                sexually.

Early in November of 2015, Mr. Montague called                 on the phone to tell him
about another shocking allegation concerning Jane Roe            This time Mr.
Montague reported that he had been at a party and a girl he did not know came up
                               leave right away because Jane Roewas there. The girl
to him and told him he had to leave
                               had raped Jane Roe
yelled at him and said that he had                         Mr. Montague was
completely taken aback because he had done no such thing. Moreover, Mr.
Montague did not think Jane Roe         herself, had accused him of raping her when
they had met the previous fall and so he could not understand how this unknown
girl could make such an accusation in a public place.
                                                 place. A
                                                        A few days
                                                               days later, Mr. Montague
received notice that a complaint had been filed with the UWC. Mr. Montague has   has
been very upset about the accusation, which he believes is untrue and unfair, and
potentially extremely harmful to him.
                                  him.




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Angela Gleason is the                          Yale College. She first heard about the
                  the Title IX Coordinator for Yale
                   the current complaint when she met with Jane Roe
events involved in the                                                         friend
                                                                               friend
            in connection with a completely unrelated incident.
                                                        incident              told her
about Jane Roe       but did not reveal Jane Roe       name. Ms.
                                                               Ms. Gleason
encouraged             to suggest that Jane Roe      come forward to talk with Ms.Ms.
Gleason.

On October 19,   2014, Jane Roe
             19,2014,                  met with Ms. Gleason. Jane Roe            told Ms.
Gleason that she told Mr. Montague she did not want to have  have intercourse but he
continued anyway. Jane Roe           focused mainly on how she felt afterward. She
told Ms. Gleason that on the night of this incident, after having nonconsensual sex    sex
with her,
      her, Mr. Montague had tried to manipulate her to make her feel differently by
telling her how wonderful she was. Jane Roe            told Ms. Gleason that she had
been seeing Mr. Montague around campus more          this fall than last spring and that
                                               more this
was difficult for her. Ms. Gleason listened to determine what Jane Roe              wanted
from her and thought that it might be possible to arrange a no contact agreement
without any
         any formal
              formal complaint.
                      complaint Ms. Ms. Gleason told Jane Roe        that it is important
for Mr. Montague
        Montague to understand the University's consent policy and one option
would bebe for Ms. Gleason to
                            to sit down with him, tell him
                                                        him there has been a complaint
against him and suggest that he participate in training to make sure he does
                  policy. She told Jane Roe
understand that policy.                            that she would have to  to check to
                                                                                     to see if
Mr. Montague was known to    to the Title IX Coordinators and would consult with other
                                          IXCoordinators
Coordinators in order toto determine if it would be appropriate to address this
          with sensitivity training. She also agreed to report back to Jane Roe
incident with
about the results of any conversation with Mr. Montague.

After consultation with other Title IX Coordinators, Ms. Gleason found out that Mr.
Montague had already participated in a full semester of sensitivity training and so it
did not make sense to ask him to repeat that intervention. She met withwith
Jane Roe again on November 10,                         tcll
                                   2015. .She did not toll
                               10,2015i                        Jane Roe about tho
proviouc
previous complaint against Mr. Montague but cho she did tell her that che
                                                                      she knn
                                                                          Imand
informed her that ew-Mr. Montague was aware of the  the University's policy on consent.
                                                                               consent
Ms. Gleason told Jane Roe      that the incident she had reported was serious and
could warrant a formal complaint.
                        complaint A Title IX  Coordinator could bring the complaint
                                            IXCoordinator
if Jane Roe     was willing to participate as a witness. Jane Roe        agreed to
cooperate on this basis.


Discussion
Discussion and
           and Summary
               Summarv


This case concerns a single episode of sexual intercourse that occurred after two or
three prior casual sexual encounters between Jane Roe           and Mr. Montague.
Jane Roe claims that the incident in question took place over her express verbal
objection and physical resistance. Mr. Montague claims that she consented to all of
sexual activity that took place       night The parties' descriptions of
                           place that night.                              the events
                                                                       ofthe
differ significantly. Jane Roe      reports at least three specific times that she told
    Montague that she did not want to "have sex," which he denies.
Mr. Montague                                                   denies. She also reports
that he apologized                            and said he knew she didn't want that;
         apologized after having intercourse and                                  that;


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he also denies this statement Jane Roe
               this statement.               reports many additional details about
the night that Mr.
               Mr.Montague
                   Montague does not remember but does not deny, including that
they
they both left Mr. Montague's house after their sexual encounter, went to other
places and then returned to Mr.
                            Mr. Montague's house for the remainder of the night.
                                                                            night

There are no direct witnesses to the sexual encounter between the parties on
October 18-19, 2014.
                  2014. The central events occurred when the parties were alone   alone
outside Mr. Montague's house, in Mr. Montague's car and in his bedroom. No        No one
else heard Jane Roe          tell Mr. Montague that she wanted to "hook up" but not
"have sex." Jane Roe            friends' testimony does
                                                     does corroborate her statements in
that all five friends
              iriends I1interviewed
                        interviewed report that in the dayday or two after October 18,
Jane Roe told them that she had    had told Mr. Montague she did not want sex but he
continued over her objection. Their testimony is consistent with her statements
that she told him "no" many
                          many times,
                                  times, she tried to push him away
                                                               away physically and that he
apologized afterwards. Jane Roe               written narrative (Exhibit
                                                                [Exhibit D)
                                                                         D] is also
                                                                               also
consistent with her current statement, however the document is undated and
cannot definitively bebetaken                             record, The
                          taken as a contemporaneous record.      ^he text
                                                                       textthread
                                                                            thread with
      (Exhibit
      [Exhibit F) also
                   also appears to be a contemporaneous written record but it is not
date and time stamped and so cannot be confirmed as being written on October 19,
2014. I                                                                                      Comment [SS14]: Who provided this text   text
                                                                                             thread?
                                                                                             thread?         ?? Do
                                                                                                                 Do each
                                                                                                                    each confirm
                                                                                                                         confirm that
                                                                                                                                 that it
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                                                                                                                                          is
                                                                                             accurate and when  it was written and received?
                                                                                             accurate and when It was written and received?
Both parties used the term "have sex" to
                                       to describe having vaginal intercourse. Mr.
Montague does not claim that he was confused by Jane Roe           use of the terms
                                                                   use
"hook up" in distinction to "have sex." Rather, he denies that she made any such
stipulations about the activity she was
                                    was consenting to. According to him, when she
consented to intercourse on September 24 24 and October 18,  2014, she did so in
                                                         18,2014,
response to his question whether she wanted to "have sex."

The parties also dispute the content and meaning of their discussion outside
Davenport College on October 28, 2014. According to Jane Roe        , she told Mr.
Montague clearly that she had not wanted sexual intercourse on October 28 and he
had ignored her.
              her. According to Mr. Montague she said only that she had not wanted
to have sex and was disappointed in what happened, which he interpreted as a
statement of her regret and not an accusation of wrongdoing. Mr. Montague's
position is that Jane Roe     consented to intercourse on October 18 and that her
behavior afterwards is inconsistent with her claim that she objected. He suggests
that this panel should consider Jane Roe       return to Mr. Montague's house asas
evidence that she was not unhappy with what had happened earlier in the night.
                                                                            night

It is for this panel to determine which party's
                                        parly's version of the events of October 18-19,
2014 is more likely to be true.


Respectfully submitted,
             submitted.




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i   t




        Miriam Berkman, JD,
                          JD, LCSW
                              LCSW
        Impartial Fact-Finder




                                                                19
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            Exhibit A: Complaint of Jason Killheffer, Senior Deputy Title IX
                                    On behalf of Jane Roe
                       Coordinator, On




November 18,
         18, 2015

Professor David Post
Chair, University-Wide Committee on
                                 on Sexual Misconduct
55Whitney
55                   2""^ Floor
   Whitney Avenue, 2'd
New Haven, CT 06520



Dear Professor Post,

in my capacity
In      capacity as Senior
                    Senior Deputy Title IX Coordinator for Yale
                                                           Yale University, II am writing to
                                                                                          to
file a formal complaint of sexual assault against Jack
                                                  Jack Montague (Yale College,
                                                                        College,Trumbull
                                                                                   Trumbull
         This complaint is based on a report I received that Mr. Montague sexually
2016). This                                                                    sexually
penetrated Jane Roe                                         without her consent on the
night of
       of Saturday, October 18,
                             18,2014,
                                2014, at his residence located at 43 Howe Street.

  am bringing
I am bringing this                    to Section
              this complaint pursuant to Section 1
                                                 1 of the University-Wide Committee on
Sexual Misconduct (UWC) procedures that allows a Title
Sexual                                              Title IX Coordinator to
                                                                         to bring forward
            "when there is evidence that the University's policies on sexual misconduct
a complaint "when
have been violated and the Coordinator's intervention is needed to ensure that the
matter reaches the UWC."



Sincerely yours,

Jason Killheffer
Sr. Deputy Title
            Title IX
                  IX Coordinator
Office of the Provost




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                                       B: Notice of Complaint
                               Exhibit B:


                                        CONFIDENTIAL


November 30, 2015

Delivered by
          bv Electronic Mail


               [TC '16)
Jack Montague (TC
            Besirevic-Regan. Dean of
c/o lasmina Besirevic-Regan,         Trumbull College
                                  ofTrumbull
jasmina.besirevic@yale.edu
iasmina.besirevic@vale.edu


Dear
Dear Jack Montague,

                                                         ("UWC") has received a formal
                                    Sexual Misconduct ("UWC")
The University-Wide Committee on Sexual
complaint against                                IXCoordinator
           against you from Senior Deputy Title IX  Coordinator Jason Killheffer. The
                 November 18,
complaint, dated November              alleges that you sexually
                             18, 2015, alleges                                     College
                                                                 assaulted aa Yale College
                                                        sexually assaulted
                                                                                at 43 Howe
                                           18, 2014, at your residence located at
student on the night of Saturday, October 18,
                                                                                    complaint
Street For further information regarding the allegation, please see attached the complaint.
Street.
A copy of the University's sexual misconduct policy is also attached here for reference.
A

Please note that the UWC in reviewing the facts presented during the formal complaint
process may consider other violations of the sexual misconduct policy or the Yale College
                                              complaint
Undergraduate Regulations that relate to the complaint.

Please read carefully the attached UWC Procedures which set forth the  the details of UWC
proceedings. 1refer        in particular to section 7 of
              I refer you in                                                           "Formal
                                                      of the procedures, governing the "Formal
Complaint Process." As As discussed in section 7.1 of the procedures, a subcommittee of the
                                                                   complaint
UWC has determined that the UWC has jurisdiction to hear this complaint.

You may provide a written response to the complaint and you may include supporting
You
documents and other evidence. If  Ifyou
                                    you wish to respond, please do so in in writing or by e-mail
to me within five days    this notice, i.e. by 5:00 p.m. on December 5, 2015.
                  days of this                                                   All statements
                                                                          2015. All
                                                             Killheffer and the Yale
and other evidence you submit will be shared with Jason Killheffer                    College
                                                                                Yale College
                           complaint II will inform you by e-mail when a fact-finder and
student referenced in the complaint.
               have been appointed in this
hearing panel have                        this matter.

There must be no contact -                            - between you and the student
                          - either direct or indirect -
              the complaint and the
referenced in the                the UWC procedures specifically prohibit retaliation
                                                               the UWC process. Angela
        any person who brings a complaint or participates in the
against any
Gleason, the Title IX Coordinator for Yale
Gleason,                                   College, may be in touch with you about the
                                      Yale College,
implementation of the no contact order and any other interim measures. If   If it is found that
                                                     finding may lead to additional charges of
    have not complied with this requirement, that finding
you have
misconduct.
misconduct


    UWChearing
All UWC
All                                                                           the UWC
        hearing participants are expected to keep confidential all aspects of the
                                                                    UWC
process as provided in the attached Statement on Confidentiality of UWC
                                       statement
Proceedings. Please read carefully the statement.




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I encourage you to choose an adviser to support you throughout this process,
                                                                          process. The adviser
may provide personal and moral support and help  help you prepare for meetings related to the
                                                                                           the
complaint.
complaint. The adviser is not permitted to submit documents, either directly or indirectly,
on your behalf at any stage
                       stage of the
                                the process, nor speak for you during an
interview with the                    the hearing. When selecting an adviser,
                the fact-finder or at the                               adviser, please make
sure they are available to you during the
                                        the time periods set forth in section 7.8 of the
                                                                                     the UWC
                                                                                         UWC
procedures. II ask that you provide me with your adviser's name
                                                              name and contact information
before you meet with the fact-finder. If you are intending to bring an attorney as your
adviser, please inform me at least four days in advance
adviser,                                         advance of any meeting that the adviser will
             further information about the role of an adviser in UWC proceedings, please see
attend. For further
                       procedures. Should you need assistance in retaining an adviser, please
section 5 of the UWC procedures.
let me know.
       know.

                      alev.menon@vale.edu. or at (203)
Please contact me, at aley.menon@yale.edu,       (203) 432-4441, to arrange a time to meet
to review the UWC hearing process.

Sincerely,

  Q/(-- /CI /7
             - .1.tc tt—

     K. Menon
Aley K.
Secretary, University-Wide Committee on Sexual Misconduct


cc:     Jasmina Besirevic-Regan
        Dean of Trumbull College

        Angela Gleason
        Title IXCoordinator
              IX Coordinator for Yale
                                 Yale College
                                      College

        Jonathan Holloway
        Dean of Yale College

        David Post
        David Post
        Professor of Ecology and
                             and Evolutionary Biology and UWC Chair

        Stephanie Spangler
        Deputy Provost and University Title IX
                                            IXCoordinator
                                               Coordinator

        UWC File
        UWC File

Encl:
End:   Complaint
       UWC Procedures
       UWC   Procedures
       Yale Sexual Misconduct Policies and Related Definitions
Statement on Confidentiality of UWC Proceeding




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                             Exhibit C:
                                     C: Response of Jack Montague




                                                 Wednesday,
                                                 Wednesdsy, December 9,2015 at
                                                            December9,2015  at S:40S4
                                                                               5}<0:S4 PM Eastern Standard Time

Subject: Response
         Responseto  UWC Complaint
                  to 11WC Complaint
Date:
Date:    Wednesday, December 9, 2015 at
                             9,2015  at 5:39:35
                                        5*3935 PM Eastern
                                                  Eastern Standard
                                                          Sundard Time
From: Jack Montague
To:      Menon, Alice
                Alice

IIdenythe
  deny the allegations.
           aHegatkxts. Ni
                        AO indosate
                            Intfanaie Interactions betwreen Jane Roe
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Sincerely,
Sfnccrely.
Ink  Montague
JKkMoRUgue




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   Exhibit D: Written Description of Events by Jane Roe




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Case 3:16-cv-00885-AVC Document 104-5 Filed 06/22/17 Page 26 of 38




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Case 3:16-cv-00885-AVC Document 104-5 Filed 06/22/17 Page 27 of 38




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                    Text Messages Between Jane Roe
         Exhibit E: TextMessages                         and Jack Montague


           •••oo AT&T 1
           •••oo AT&T '9^
                        "•
                       ;'              3:26 PM
                                       3:26 PM            @1
                                                          (5> -f   : 92%
                                                                     92%1=3.

            ^ Messages
            <                          Jack                         Details

                                Oct 19, 2014, 1:30
                                Oct19,        1:30 AM


                                                         I left toadS
                                                                 •1ST*




                                            I'm in front of dport

                                Oct 26,
                                    26. 2014, 11:18
                                              11:18 AM


                             Hey could we meet up at some
                             point today to talk? Let me know
                             I'm around all day
                                                                          L

                                Oct 26, 2014, 4:30 PM


               Sorry I'm heading back from
               being out of town and II have
               practice tonight. II can't today

                                Alright when are you around

               I'm getting back soon but
               headin to the gym for 7-10
               practice. We can meet up this
               week sometime


                             Okay yeah that's fine. Sooner
                             rather than later would be good
                                   ••.   u1••     .11


             iSI                                                      O
                                                                               29
                                                                               29
    Case 3:16-cv-00885-AVC Document 104-5 Filed 06/22/17 Page 30 of 38




•••oo AT&T "9'            3:26 PM           c -f ^ 92%
                                            ®-     92%M'

^ Messages
< Messages                 Jack                  Details


                 Okay yeah that's fine.
                                   fine. Sooner
                 rather than later would be good
                 it's kinda important
                            Important

   Ok sounds good

                    Oct 28, 2014, 5:30 PM


                 Hey let me know ifif you're
                 around tonight even ifif it's not til
                                                   til
                 much later on

                    Oct 28, 2014, 7:34 Pr
                                       PM


   Just got out of practice. Going
   to eat, what's your plans in like
   an hour or so?


                  I'll be around II think working in
                  starbucks
                  Starbucks


   Ok I'll hit you up in a little bit

   You're kind of worrying me
   about this, is
               Is it something really
   bad?



 la                                                 O
                                                           30
    Case 3:16-cv-00885-AVC Document 104-5 Filed 06/22/17 Page 31 of 38




•••oo AT&T Ire
•••oo      '9'             3:27 PM         @--ri
                                            1 92% OF

^ Messages
< Messages                 Jack                  Details

   bad?

                 Well I'm not pregnant or
                 anything but IIstill
                                still just wanna
                 talk so yeah hit me up later

                      28, 2014, 9:21
                  Oct 28.       9:21 PM


   What you doin

                 I'm still in starbucks
                              Starbucks but II can
                                               can
                 meet you wherever

   I'm going to
             to a concert at toads
   at like 11. Can II come see you
   somewhere before that


                                        Yeah
                                        Ye'ah anytime

   Can you meet me at

                                       Yeah sure now?


   Give me five minutes


   Ten minutes


             ,Sbage
                 TiiMirta^tf i I III
                                                    o
                                                           31
                                                           31
V   f
           Case 3:16-cv-00885-AVC Document 104-5 Filed 06/22/17 Page 32 of 38




        •••oo AT&T
        •••oc        '5'           3:27 PM           ^ i, 92%
                                                   C1-/   92%J

        ^ Messages
        < Messages                 Jack                 Details


           Ten minutes

                            Okay just text me when you're
                            ready whenever is fine
                                                               L


           I'm in           . Right next to
                               . Can you meet
           me real quick

                                Yeah on my way meet me
                                outside
                                                               L


           Okay

           There's a picnic table right
           inside just meet me there

                                              Inside where

                                ie under the arch thing idk
                           I'm like
                                      at all
                                                       Delivered
                                                       Delivered


           Right inside the             entrance
           next to


         la                                                0
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                                                                   32
                                                                   32
                       Case 3:16-cv-00885-AVC Document 104-5 Filed 06/22/17 Page 33 of 38
•%   «. •»   y




                 Exhibit F:
                         F: Text Messages Between   Jane Roe   and

                 •••oo AT&T
                       AT&T -9-              3:14 PM           ®-
                                                               @1 ^ t 92% IM


                 ^ Messages
                 <                                      tt           Details


                    How was your night?

                                  My night was actually really bad
                                        I left pattys
                                  after 1left

                    Noo how come?
                    Nog


                                     It's like a traumatic story okay
                                     It's

                                  So that guy jack that II hooked
                                  up with? II saw him last night and
                                  long story short basically II said
                                  I'd hookup with him but not have
                                  sex with him and he said that
                                  was fine

                                  But we went to his room
                                  eventually and he was
                                  pressuring me and II said no two
                                  or three times and II tried to
                                  push him off of me and II
                                  couldn't


                                  And afterwards he was like I'm
                                                             I'm
                                  sorry II know
                                           know you didn't want that

                                  I've been a mess all morning I'm

                  iSi i IK-'                                           o
                                                                               33
>   ^   J   •
                 Case 3:16-cv-00885-AVC Document 104-5 Filed 06/22/17 Page 34 of 38




                woo AT&T
                •••oo AT&T            3:14 PM
                                      3:14              1i 92% IMP,

                ^ Messages
                < Messages                   tg             Details

                             I've been a mess all morning I'm
                             like sick to my stomach

                   What! So he knew you didn't
                   want to
                         to but made you have sex
                   with him anyway? That's so not
                   with
                   okay.

                   Sick like throwing up or just sick
                   because that was such a shitty
                   situation?

                   I'm sorry "

                             Yeah he like forced me II tried to
                             push him off but he just like did
                             it anyway

                             And sick because it was a shitty
                             And
                             situation II just like can't believe
                             that happened

                   He fucking sucks

                                 I still have to decide what I'm
                                 going to do I'm gonna give
                                 myself a few days to thibj

                 ISi    'Message                               o
                                                                      34
                                                                      34
•»   *. a   <-
                 Case 3:16-cv-00885-AVC Document 104-5 Filed 06/22/17 Page 35 of 38




                 •••oo AT&T 15--                                      3:18 PM
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                                                                                                          92%11111P

                 ^ Messages
                 < Messages                                                           *g                  Details
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                                                           Mon, Dec 29, 11:33 PM
                                                                              PM


                    Also you're officially coming
                    back           once we're back
                    at school right??

                                               Okay so II really want to and my
                                               schedule will allow it. But II just
                                               really don't know ifif II can

                                               I'm still really rattled about the
                                               thing that happened with jack
                                               and I'm just trying to picture
                                                                    and idk if   if I'm
                                               okay with it. II hate to have him
                                               prevent me from doing
                                               something that II want to do, but
                                               II just don't know ifif II can like II still
                                                                                       still
                                                have nightmares about what
                                                happened sometimes. It        It sucks
                                                because it has nothing to do
                                               with                        I'm just
                                                really struggling with it

                                                 So that's where I'm at right now
                                                  ®®
                                                                                                                 L


                  la                 .. essage
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                                                                                                                      35
Case 3:16-cv-00885-AVC Document 104-5 Filed 06/22/17 Page 36 of 38




•••oo AT&T               3:19 PM           ®-      92%
                                           ®- -i i 92%M.

< Messages
^ Messages                        *gi           Details

     That totally makes sense. ItIt
     would be a sucky hour having to
     stand there

     How about just doing women's
              (You totally don't have
     games? (You
     to but I'm just insisting with love
                      you! *)
     because II miss you!

               Hmm ifif       would be okay
               with me just doing the women's
               games IIwould
                        would definitely think
               about that that might work!
                                      work!
               Would that mess stuff up
               though??

     Well we're not doing anything
     Well
     too complicated (literally preps
     lol) so think about it! Let me
     lot)
            what you decide o S?
     know what

                    Thu, Jan 8, 10:25 AM


                  Ah          is         me about
                              is texting me
                          idk what to say

     Uh oh what did you reply?

 a                                                 O
                                                           36
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Exhibit
Exhibit G: Text Messages
                Messages Between   Jane Roe   and

 •••00
 •••GO AT&T   -9-           3:19
                            3:19 PM           @
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                                                  -f 4;
                                                     ^ 92% I

 ^ Messages (1)
 <                                                   Details
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                    J1.111 }Jail
                               i VI
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                                    uieIC

     group

      me. If
          If not, I'll add you
                           you back in

                       Thu,
                       Thu, Jan 8,
                                8. 11:12
                                   11;12 PM


                    Hey         ,, I'm really sorry for
                    the short notice but I'm not
                    going to be able to           this
                    season. II have a really serious
                    Issue with someone on the
                    issue
                    basketball team and and while that
                            not seem like a big deal
                    might not                     deal
                    it's serious enough that II won't
                    be able to dodo the games. I'mI'm
                    really sorry again

                       Fri,
                       Fri, Jan 9,
                                9, 12:16 AM


     Oh no! Okay please let me know
     if there is anything you need. I'm
     always here to help.
                      help. II hope this
     issue can be resolved so you you
     can          next season. I

     do have your apparel though so
     who would you
               you like new to give
     that to?

                                                        Send



                                                                 37
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         H: Record of Security Card Activity for Jane Roe
 Exhibit H:                                                                , October 19,
                                                                                     19,2014is
                                                                                         201415




READER_DESC
READER.DESC                                                                   ACCESSED
                                                                              ACCESSED
186-3-1-P                                           PERIM
292-1-0-P                                            PERIM                    Yes
187-4-0-P                                                    PERIM            Yes
187-2-1-P                                   PERIM

SWIPE_DATETIME           EMPLOYEE    FIRST_NAME       LAST_NAME
                                                      IAST_NAME      BID
                                                                     BID
         10/19/14 1:34
         10/19/141:34       853205   Jane             Roe            25412169
         10/19/14 1:40
         10/19/141:40       853205   Jane             Roe            25412169
         10/19/14 9:57
                  9:57      853205   Jane             Roe            25412169
         10/19/14 9:58      853205   Jane             Roe            25412169




15 The
   The grid below was obtained from George Hines,
                                              Hines, Director of Yale Security
Systems. The excel worksheet format is reproduced in two pieces in order to fit on
this page.
     page. The lower half of the grid is meant to fit to the right of the upper half.


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